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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 KEITH MUMPHERY,

         Plaintiff,
                                                                        Case No. 1:18-cv-576
 v.
                                                                        HON. JANET T. NEFF
 MICHIGAN STATE UNIVERSITY, et al.,

         Defendants.
 ____________________________/


                                               ORDER

        This matter is before the Court on the parties’ Joint Notice Regarding Mediation (ECF No.

31). The parties request an extension of time, until April 12, 2019, to continue settlement

discussions before a briefing schedule on the anticipated motion to dismiss is issued. The Court,

having reviewed the parties’ request, will grant the extension. Accordingly:

        IT IS HEREBY ORDERED that the parties shall continue mediation and shall, not later

than April 12, 2019, file a joint notice indicating that the parties:

        (1)     have reached a resolution of this matter and dismissal papers are forthcoming,
                including a proposed deadline to file the dismissal papers;

        (2)     are continuing to negotiate a resolution and request more time to do so, including a
                detailed explanation of the efforts made thus far, what remains to be done to
                complete the process, and the additional time necessary; or

        (3)     were unable to reach a resolution of this case, additional time to do so would likely
                not be productive without further proceedings in this matter, and a briefing schedule
                on the anticipated motion to dismiss is necessary, including a proposed schedule.



Dated: March 29, 2019                                            /s/ Janet T. Neff
                                                                JANET T. NEFF
                                                                United States District Judge
